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                IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF OKLAHOMA

KENNETH D. RAMSEY, Trustee           )
of the Ramsey Family Revocable       )
Living Trust,                        )
                                     )
                   Plaintiff,        )
                                     )
      v.                             )     Case No. CIV-15-443-D
                                     )
ALTERRA EXCESS & SURPLUS             )
INSURANCE COMPANY, and               )
FRATES INSURANCE & RISK              )
MANAGEMENT, LLC d/b/a                )
FRATES INSURANCE & RISK              )
MANAGEMENT,                          )
                                     )
                   Defendants.       )

                                   ORDER

      Before the Court is Plaintiff’s Amended Motion to Remand [Doc. No. 14].

There being no objection, the Court finds Plaintiff’s motion should be GRANTED

and this matter is accordingly REMANDED to the District Court of Cleveland

County, State of Oklahoma for further proceedings.

      IT IS SO ORDERED this 21st day of October, 2015.
